       Case 2:24-cr-00022-Z-BR Document 11 Filed 03/04/24 Page 1 of 1 PageID 16
                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS


UNITED STATES OF AMERICA                            § MAG. DOCKET NO.: _______________________
                                                    §
v.                                                  §
NICKOLAS O'BRIEN (1)                                §
                                                                    2:24-mj-00020-BR (1)
                                                    § CRIMINAL NO.: _______________________


                              ENTRY OF APPEARANCE OF COUNSEL
     I wish to enter my appearance as retained counsel for the above-named defendant(s) in this cause.

✔ I hereby enter my appearance as appointed counsel for the above-named defendant(s) in this cause.
            I understand that it is my duty to continue to represent the above-named defendant(s) in
            connection with all matters relating to this cause, and in connection with all proceedings therein
            in this Court; to assist the defendant(s) with any appeal which the defendant(s) desires to perfect,
            and to represent the defendant(s) on appeal until a final judgment has been entered; unless and
            until, after written motion filed by me, I am relieved by Order of the Court.

     In all cases an arraignment is scheduled promptly after the return or filing of an indictment or
     information, at which time the defendant must enter a plea. Your attention is directed to Rule 12
     Federal Rules of Criminal Procedure, pertaining to pretrial motions.



      March 4, 2024
      ____________________________________            /s/ Benjamin D. Doyle
                                                      _____________________________________________________
      Date                                            Signature of Attorney

                                                      Benjamin D. Doyle
                                                      _____________________________________________________
                                                      Attorney Name (Please Print)

                                                      24080865
                                                      _____________________________________________________
                                                      Attorney Bar Number

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